Case 1:17-cv-00116-LMB-TCB Document 38 Filed 02/03/17 Page 1 of 1 PageID# 240




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


TAREQ AQEL MOHAMMED AZIZ, Gt aL

               Petitioners,

       V.                                                        l:17-cv-116(LMB/TCB)

DONALD TRUMP, President of the
  United States, ^ aL,

               Defendants.
                                             ORDER


       For the reasons stated in open court, it is hereby

       ORDERED that the Temporary Restraining Order entered by this Court on January 28,

2017, be and is extended through Friday, February 10,2017; and it is further

       ORDERED that the defendants provide the Commonwealth of Virginia with a list of all

persons who have been denied entry to or removed from the United States since the Executive

Order entitied "Protecting the Nation from Foreign Terrorist Entry into the United States" was

signed and who, as of 8:00 a.m. Eastern Standard Time, on Friday, January 27,2017, had a

residence in the Commonwealth of Virginia and had lawful permanent resident status, an

immigrant visa (or accompanying family or spousal visa), a valid student visa (or accompanying

family or spousal visa), or a valid work visa (or accompanying family or spousal visa) by the close

of business on Thursday, February 9,2017.

       The Clerk is directed to forward copies ofthis Order to counsel of record.

       Entered this      day of February, 2017.

Alexandria, Virginia


                                                                         /s/
                                                            Leonie M. Brinkema
                                                            United States District Judge '
